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                          IN THE UNITED STATES DISTRICT COURT

                            FOR THE EASTERN DISTRICT OF TEXAS

                                           TYLER DIVISION

 UNITED STATES OF AMERICA                          §

 v.                                                §             CRIM. ACTION NO. 6:09CR18

 ERIC FERNANDO REYES (6)                           §


                              ORDER ADOPTING REPORT AND
                           RECOMMENDATION OF UNITED STATES
                                  MAGISTRATE JUDGE

        The Report and Recommendation of the Magistrate Judge, which contains her findings,

 conclusions, and recommendation for the disposition of specified pending motions in this case has

 been presented for consideration.         The Report and Recommendation recommends that the

 Government’s Motion for Final Order of Forfeiture be granted, subject to resolution of the lien

 holder claim of Angel Torres (document #177) in connection with the 2007 Suburban, and that the

 ancillary claims of Erika Reyes and Evangelina Serrato (document #171, 172, and 174) filed in

 response to the Preliminary Order of Forfeiture involving a 2007 Chevy Suburban, VIN

 3GNFC16J07G115816, a 1966 Red Chevy Impala SS Convertible, VIN 168676J226789, and a 2002

 BMW 745i, VIN WBAGL63482DPS2349, be dismissed as having been abandoned. No written

 objections have been filed. The Court therefore adopts the findings and conclusions of the

 Magistrate Judge as those of the Court.

        In light of the foregoing, it is

        ORDERED that the ancillary claims of Erika Reyes and Evangelina Serrato (document #171,

 172, and 174) filed in response to the Preliminary Order of Forfeiture involving a 2007 Chevy




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 Suburban, VIN 3GNFC16J07G115816, a 1966 Red Chevy Impala SS Convertible, VIN

 168676J226789, and a 2002 BMW 745i, VIN WBAGL63482DPS2349, are DISMISSED.



                        So ORDERED and SIGNED this 10th day of February, 2010.




                                                                      __________________________________
                                                                      LEONARD DAVIS
                                                                      UNITED STATES DISTRICT JUDGE




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